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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION




UNITED STATES OF AMERICA


        V.                                          OR 200-019


JOHNNY LEE WITHERSPOON




                                      ORDER




        Defendant     Johnny    Lee   Witherspoon   has    filed   a   motion    for

reduction      in    sentence    pursuant   to   the   compassionate         release

provision of 18 U.S.C. § 3582(c)(1)(A).                The Government opposes

the motion.         Upon due consideration of the parties' submissions,

particularly Defendant's inmate medical records, the Court denies

Defendant's request for relief.

        The compassionate release provision provides a narrow path

for a district court to grant release to a defendant if, after

considering the factors set forth in 18 U.S.C. § 3553(a), it finds

that ''extraordinary and compelling reasons" warrant such relief

and that release is "consistent with applicable policy statements

issued by the [United States] Sentencing Commission."                   18 U.S.C.

§ 3582(c)(1)(A).          The    applicable   Policy      Statement,    in    turn,

provides that if the defendant is not a danger to the community,

there    are   three     specific      categories    of    "extraordinary       and

compelling reasons" to grant relief: medical, age, and family
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circumstances.        U.S.S.G. § 1B1.13 & n.l(A)-(C). A fourth catch-

all category provides: ''As determined by the Director of the Bureau

of Prisons, there exists in the defendant's case an extraordinary

and compelling reason other than, or in combination with," the

aforementioned       three   categories.          Id.   n.l{D).^      Thus,     the

compassionate    release      provision       imposes      three   conditions    on

granting a sentence reduction:            the existence of extraordinary and

compelling circumstances, adherence to Policy Statement § lBl.13

(including a finding that the defendant is not a danger to the

community),    and    support     in   the   §   3553(a)    sentencing   factors.

United States v. Tinlcer, 14                  1234, 1237-38 (11^^ Cir. 2021).

Absence   of   even    one   of   these      requirements    would   foreclose    a

sentence reduction. Id.; United States v. Giron, 15                           1343,

1348 (11^^ Cir. 2021) ("[C]ompassionate release is permissible only

if all three findings are made.").

     In this case. Defendant contends that his medical condition

qualifies him for relief.              Defendant reveals that he is taking



^  The Eleventh Circuit Court of Appeals has held that district
courts are bound by the definition of "extraordinary and
compelling" set forth in Policy Statement § 1B1.13 and its
application note.  United States v. Bryant, 996 F.3d 1243 (11*^^
Cir. 2021). Thus, the Court does not have discretion to consider
other circumstances. To be clear, however, even if the Court had
the discretion not to follow the Policy Statement, Defendant does
not present an extraordinary and compelling reason warranting
early release, and the Court would not exercise its discretion to
release him upon weighing the sentencing factors of 18 U.S.C. §
3553(a), as discussed infra.
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hydrochlorothazide,           atorvastatin,     and      amlodipine        for      an

unspecified medical condition; he claims the medication makes him

more susceptible to a COVID-19 infection.               (Doc. 97.)       Defendant's

inmate medical records, submitted by the Government, show that he

has    hypertension     and   hyperlipidemia     and    is     overweight.       (See

generally Gov't Resp. in Opp'n, Doc. 98, Ex. A.)                  The Centers for

Disease Control and Prevention (""CDC") has listed certain medical

conditions that are more likely to make a person "severely ill"

should    he   contract COVID-19.     See     Centers    for    Disease   Control    &


Prevention, Medical Conditions, available at https://www.cdc.gov

/coronavirus72019-ncov/need-extra-precautions/people-with-

medical-conditions.html (last visited on December 1, 2021).

Obesity and possibly hypertension appear on this list, but that

does not necessarily equate to an "extraordinary and compelling"

reason to grant compassionate release.                In fact. Section 1B1.13

indicates that a medical condition is considered serious only if

it "substantially       diminishes    the     ability    of     the   defendant     to

provide     self-care    within    the   environment         of   a     correctional

facility and [is one] from which he or she is not expected to

recover."      U.S.S.G. § 1B1.13, n.l(A)(ii), cited in Giron, 15

at 1346.       Defendant has not made any showing that he satisfies

these    criteria.      Finally,    Defendant's    most        recent   examination

shows that he is feeling well, exercising, and eating appropriately

with      normal     pulmonary,     cardiovascular,           neurological,       and
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musculoskeletal systems.            (Gov't Resp. in Opp'n, Ex. A at 1-2 -

Examination Date of Nov. 3, 2021.)

       Importantly,       the   Court     notes    that    the    potential        risk    to

Defendant at FCI Ray Brook has been dramatically reduced in present

times.     The BOP reports that there are currently no inmates and

only   4   staff      members     with    active       cases     of   COVID-19.           See

https://www.bop.gov/coronavirus/index.jsp (last visited December

1, 2021).        Moreover, Defendant has been vaccinated against the

COVID-19 virus.         (Gov't Resp. in Opp'n, Ex. A at 55.)                      The Court

therefore concludes that Defendant's risk of exposure to COVID-19

and to any potential adverse effects has been reduced to a minimum.

In short. Defendant has failed to show that his medical condition

constitutes      an    extraordinary      and     compelling      reason      to    warrant

early release under Policy Statement § IBl.lS.^

       Even assuming Defendant's medical condition was sufficiently

serious     to     warrant      consideration         of   release,         the    relevant

sentencing factors of § 3553(a) do not weigh in his favor.                                The

Court finds        that   the    nature    of    his   offense,       the    history      and

characteristics of this Defendant, and the need to protect the

public     weigh      against    reducing       his    sentence       to    time   served.

Defendant has an extensive criminal history and is considered an




2   See United States v. Granda, 852 F. App'x 442, 446 (11^^ Cir.
2021) (stating it is movant's burden to show that his circumstances
warrant a sentence reduction under § 3582(c)(1)(A)).
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armed career criminal.      He has violated his probation or parole

several times, thus remaining undeterred from criminal conduct.

Notably, the prison has sanctioned Defendant twice in the last 21

months for possession of drugs or alcohol.        (Gov't Resp. in Opp'n,

Ex. B.)    The Court concludes that release at this point would fail

to reflect the seriousness of his offense, promote respect for the

law, provide just punishment, and afford adequate deterrence.

        Upon the foregoing, Defendant Johnny Lee Witherspoon's motion

for compassionate release (doc. 97) is DENIED.

     ORDER ENTERED at Augusta, Georgia, this            day of

2021.




                                       J.          HALL/CHIEF JUDGE
                                       UNITED STATES    DISTRICT COURT
                                       SOUTHERN   DISTRICT OF GEORGIA
